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             IN THE UNITED     STATES     DISTRICT         COURT    FOR THE
                         SOUTHERN DISTRICT          OF    GEORGIA
                             STATESBORO DIVISION




BOB   AARON     MIKELL                     *
                                           •


        Petitioner,                        *
                                           *         CV    609-065
        v.                                 *         (Formerly CR 606-026-10)

UNITED STATES OF AMERICA,                  *

        Respondent,                        •




                                   ORDER




        On March      3,   2011,   this    Court         adopted     the   Report   and

Recommendation of the United States Magistrate Judge,                           which

recommended dismissal of Petitioner Bob Aaron Mikell's habeas

petition brought pursuant to 28 U.S.C. § 2255.                          Mikell filed
a   motion      for   reconsideration          of   this     decision,     which    was

denied,      and he filed a notice of appeal.                      On September 13,

2011,     the    Eleventh Circuit         denied Mikell's             motions   for a

certificate of appealability and to proceed in forma pauperis

on appeal.

        Over the      course of the next four years,                   Mikell   filed

several post-judgment motions and appealed the denials of

these motions; each time this Court and the Eleventh Circuit

denied his motions for certificates of appealability and to

proceed in forma pauperis on appeal.                      Most recently, on May 2,
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2016,    Mikell     filed a motion for relief         from the original

Report and Recommendation of 2011.            The motion was denied on

May 19, 2016.          Mikell has filed a notice of appeal from this

decision.        He simultaneously filed a motion for a certificate

of appealability and has now also filed a motion to proceed in

forma pauperis on appeal.

        The Court will not tarry long on Mikell's latest attempt

to relitigate issues that were fairly and fully decided in

2011.     Once again,       Mikell has failed to make a substantial

showing of the denial of a constitutional right;               therefore,

his motion for the issuance of a certificate of appealability

(doc.     Ill)    is    DENIED.   See   28   U.S.C.   §   2253(c)(1)(B).


Consequently,          his motion to proceed in forma pauperis        (doc.

115)    is DENIED AS MOOT.


        ORDER ENTERED at Augusta, Georgia, this ^>iS^                day of

August,    2016.




                                        HONORAjpt^C J. RMTDAL HALL
                                        UNITED^ STATES DISTRICT JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA
